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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION



           UNITED STATES OF AMERICA
                                                    CASE NO. 8:12-cr-130-T-17AEP
           V.


           JOSE ISABEL ARREOLA PLANCARTE,
                           Defendant,

                        and


           Juana Aleman, as surety for Jose Isabel Arreola Plancarte


                                        DEFAULT JUDGMENT


                 THIS CAUSE is before the court on the Government's Motion for Default

           Judgment. On November 14, 2012, this Court, upon motion of the government,

           entered an order declaring forfeiture of the following bond posted by or on behalf

           of the defendant: an appearance bond secured by property, posted by the

           defendant and Juana Aleman, in the amount of 350,000. Doc. 46. Forfeiture of

           the above-referenced bond has not been set aside. Upon consideration of the

           Government's Motion for Default Judgment and the Court being otherwise fully

           advised in the premises, it is hereby ORDERED that the Government's Motion

           for Default Judgment is GRANTED.

                 WHEREFORE, judgment is hereby rendered in favor of the plaintiff,

           United States of America, and against Juana Aleman in the amount of 550,000

           for which let execution issue; and

                 WHEREFORE, judgment is hereby rendered in favor of the plaintiff,
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   United States of America, and jointly and severally against JOSE ISABEL

   ARREOLA PLANCARTE in the amount of $50,000 for which let execution issue;

   and


          WHEREFORE, interest shall accrue at the legal rate of . 15 percent
   from the date of judgment until paid in full.          ./

          ADJUDGED and so ORDERED this              /   day of February, 2013, in
   Chambers at Tampa, Florida.




   cc:    Sheryl L. Loesch, Clerk, United States District Court
          Suzanne Nebesky, Assistant United States Attorney
